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UNITED STATES BANKRUPTCY COURT FOR THE
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CASE NO.: 10-01013-CED
CHAPTER 11 CASE
IN RE:

MICHAEL S LONGENECKER

Debtor.
/

PRELIMINARY OBJECTION TO
CONFIRMATION OF PLAN

MOVANT, SUNTRUST MORTGAGE INC, a secured creditor, by and through its
undersigned attorney, objects to confirmation of Debtor's plan and states as follows:

1. Movant objects to term of plan and request that Movant be paid according to original
terms of the note, 30 years ending May 27, 2037 for the property located at 4640
Cubitis Ave NE, Arcadia, Florida.

2. Movant has not accepted the Plan.

WHEREFORE, Movant, SUNTRUST MORTGAGE INC, files this objection to
confirmation of plan and moves the Court to deny confirmation of said plan.

1 HEREBY certify that a true and correct copy of the Preliminary Objection to
Confirmation of Plan was delivered to the addressees on the attached mailing list by First Class
U. S. Mail postage pre-paid and/or electronic mail anid fay of / , 2010.

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09-5055]
Case 8:10-bk-01013-CED Doc 235

Mailing List for Bankruptcy Case No: 10-01013-CED

BENJAMIN E. LAMBERS

UNITED STATES TRUSTEE
TIMBERLAKE ANNEX

501 EAST POLK STREET, SUITE 1200
TAMPA, FL 33602

MICHAEL S LONGENECKER
901 WEST WALDRON STREET
ARCADIA, FL 34266

SHEILA D. NORMAN., ESQ.
1905 WEST KENNEDY BLVD
TAMPA, FL 33606

UNITED STATES TRUSTEE
TIMBERLAKE ANNEX

501 EAST POLK STREET, SUITE 1200
TAMPA, FL 33602

09-50551

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